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                     UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MARYLAND
       In re:

                             *     Case No.: 10-37036
RICHARD MICHAEL PLANT, JR.   *
                             *
          Debtor             *    Chapter 11
                             *
                             *
     *   *      *   *      * *    *      *      *     * *                              *
          NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

       Please take notice that the law firm of Hodes, Pessin & Katz, P.A., 901 Dulaney Valley
Rd. Ste. 400, Towson, MD 21204 will represent the interests of David Solomon in this matter.
       The undersigned requests that the name and address shown below be placed on the
mailing matrix and that all notices in this matter be served upon counsel for David Solomon as
follows:


                     Mark F. Scurti, Esq.
                     Hodes, Pessin & Katz, P.A.
                     901 Dulaney Valley Rd. Ste. 400
                     Towson, MD 21204



                                             /s/Mark F. Scurti_____________
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